4

IN THE UNITED STATES DISTRICT COURT

FILED

JUN 2 3 2021

FOR THE NORTHERN DISTRICT OF OKLAHOMA ark c. MiccCartt, Clerk

UNITED STATES OF AMERICA,
Plaintiff,
Vv.

WILLIAM DONOVAN

JOHNSON III,

a/k/a “Billy Johnson,”

DAVID SCOTT CHAMBERS,
a/k/a “Scott Chambers,”

GENE OLEN CHARLES RAST,
SHAUNI BREANNE CALLAGY,
RENEE LYNN HAYNES,

Defendants.

 

U.S. DISTRICT COURT
Case No. 21-CR-102-CVE

SUPERSEDING INDICTMENT

[COUNT ONE: 21 U.S.C. §§ 846
and 841(b)(1)(A)(viii) — Drug
Conspiracy;

COUNTS TWO and THREE: 21
U.S.C. §§ 856(a)(1) and 856(b) —
Maintaining a Drug-Involved
Premises;

COUNTS FOUR and TEN: 18
U.S.C. § 1952(a)(3) — Interstate
Travel to Aid Racketeering;
COUNT FIVE: 21 U.S.C. §§
841(a)(1) and 841(b)(1)(B)(viii) —
Possession of Methamphetamine
with Intent to Distribute;

COUNT SIX: 18 U.S.C. §
924(c)(1)(A)(@) — Possession of
Firearm in Furtherance of a Drug
Trafficking Crime;

COUNT SEVEN: 21 U.S.C. §§
841(a)(1) and 841(b)(1)(A) (viii) —
Possession of Methamphetamine
with Intent to Distribute;

COUNT EIGHT: 21 U.S.C. §§ 846
and 841(b)(1)(A)(viti) — Drug
Conspiracy;

COUNT NINE: 21 U.S.C. §
841(a)(1) and 841(b)(1)(C) -
Possession of Methamphetamine
with Intent to Distribute;
Forfeiture Allegation: 21 U.S.C. §
853, 18 U.S.C. § 981(a)(1)(C), and
28 U.S.C. § 2461 — Drug and
Racketeering Forfeiture]
THE GRAND JURY CHARGES:

COUNT ONE
[21 U.S.C. §§ 846 and 841(b)(1)(A)(viii)]

Beginning as early as in or about September 2020 and continuing until on or
about October 10, 2020, in the Northern District of Oklahoma and elsewhere, the
defendants, WILLIAM DONOVAN JOHNSON III, a/k/a “Billy Johnson,”
DAVID SCOTT CHAMBERS, a/k/a “Scott Chambers,” and SHAUNI
BREANNE CALLAGY, did knowingly, intentionally, and willfully conspire,
confederate, and agree with each other and with others known and unknown to the
Grand Jury to distribute and to possess with intent to distribute 500 grams or more of
a mixture and substance containing a detectable amount of methamphetamine, a
Schedule II controlled substance, in violation of Titlte 21, United States Code
Section 841(a)(1).

All in violation of Title 21, United States Code, Sections 846 and

841(b)(1)(A)(viii).
COUNT TWO
[21 U.S.C. §§ $56(a)(1) and 856(b)]

Beginning as early as in or about September 2020 and continuing until on or
about October 10, 2020, in the Northern District of Oklahoma, the defendants,
WILLIAM DONOVAN JOHNSON If, a/k/a “Billy Johnson,” and SHAUNI
BREANNE CALLAGY, did knowingly lease, rent, use, and maintain a place
located at GPS Satellite Coordinates 36.638779, -94.681428, in Grove, Oklahoma,
for the purpose of distributing and using methamphetamine, a Schedule II controlled

substance.

All in violation of Title 21, United States Code, Sections 856(a)(1) an 856(b).
COUNT THREE
[21 U.S.C. §§ 856(a)(1) and 856(b)]

Beginning as early as in or about September 2020 and continuing until on or
about October 10, 2020, in the Northern District of Oklahoma, the defendants,
WILLIAM DONOVAN JOHNSON I], a/k/a “Billy Johnson,” and SHAUNI
BREANNE CALLAGY, did knowingly lease, rent, use, and maintain a place
located at 26371 South 650 Road, Grove, Oklahoma, for the purpose of distributing
and using methamphetamine, a Schedule IJ controlled substance.

All in violation of Title 21, United States Code, Sections 856(a)(1) an 856(b).
COUNT FOUR
[18 U.S.C. § 1952(a)(3)]

On or about October 10, 2020, in the Northern District of Oklahoma and
elsewhere, the defendant, DAVID SCOTT CHAMBERS, a/k/a “Scott Chambers,”
travelled in interstate commerce from the State of Missouri to the State of Oklahoma
with the intent to promote, manage, establish, carry on, and facilitate the promotion,
management, establishment, and carrying on of an unlawful activity, that is,
Possession of Methamphetamine With Intent to Distribute, in violation of Title 21,
United States Code, Section 841(a)(1), and thereafter performed and attempted to
perform an act to promote, manage, establish, and carry on, and to facilitate the
promotion, management, establishment, and carrying of such unlawful activity.

All in violation of Title 18, United States Code, Section 1952(a)(3).
COUNT FIVE
[21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B)(viii)]

On or about October 12, 2020, in the Northern District of Oklahoma, the
defendant, GENE OLEN CHARLES RAST, knowingly and intentionally possessed
with the intent to distribute 50 grams or more of a mixture and substance containing a

detectable amount of methamphetamine, a Schedule I controlled substance, in violation

of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B)(viil).
COUNT SIX
[18 U.S.C. § 924(c)(1)(A)(D]

On or about October 12, 2020, in the Northern District of Oklahoma, the
defendant, GENE OLEN CHARLES RAST, knowingly possessed the following
firearm:

A Taurus .40 caliber semi-automatic pistol, serial number STE 17971,
in furtherance of a drug trafficking crime for which he may be prosecuted in a court of
the United States, that is:

Possession of Methamphetamine with Intent to Distribute, a violation of Title 21,
United States Code, Section 841(a)(1),

as set forth more fully in Count Five of this Indictment.

All in violation of Title 18, United States Code, Section 924(c)(1)(A)(i).
COUNT SEVEN
[21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A)(viii)]

On or about May 31, 2019, in the Northern District of Oklahoma, the defendant,
WILLIAM DONOVAN JOHNSON Uf, a/k/a “Billy Johnson,” knowingly and
intentionally possessed with the intent to distribute 50 grams or more of
methamphetamine, a Schedule II controlled substance, its salts, isomers, and salts of its
isomers, in violation of Title 21, United States Code, Sections 841(a)(1) and

84.1(b)(1)(A)(viii).
COUNT EIGHT
[21 U.S.C. §§ 846 and 841(b)(1)(A)(viii)]

Beginning on or about May 31 and continuing until on or about June 1, 2019, in
the Northern District of Oklahoma and elsewhere, the defendants, WILLIAM
DONOVAN JOHNSON If, a/k/a “Billy Johnson,” and SHAUNI BREANNE
CALLAGY, did knowingly, intentionally, and willfully conspire, confederate, and
agree with each other and with others known and unknown to the Grand Jury to
distribute and to possess with intent to distribute 50 grams or more of
methamphetamine, a Schedule II controlled substance, its salts, isomers, and salts of
its isomers, in violation of Titlte 21, United States Code Section 841(a)(1).

All in violation of Title 21, United States Code, Sections 846 and

841(b)(1)(A)(viii).
COUNT NINE
[21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C)]

On or about March 21, 2021, in the Northern District of Oklahoma, the
defendant, RENEE LYNN HAYNES, knowingly and intentionally possessed with the

intent to distribute methamphetamine, a Schedule II controlled substance, in violation of

Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).

10
COUNT TEN
[18 U.S.C. § 1952(a)(3)]

Beginning on or about March 18, 2021, and continuing to on or about March 21,
2021, in the Northern District of Oklahoma and elsewhere, the defendant, RENEE
LYNN HAYNES, travelled in interstate commerce from the State of California to
the State of Oklahoma with the intent to promote, manage, establish, carry on, and
facilitate the promotion, management, establishment, and carrying on of an unlawful
activity, that is, Possession of Methamphetamine with Intent to Distribute, in
violation of Title 21, United States Code, Section 841(a)(1), and thereafter performed
and attempted to perform an act to promote, manage, establish, and carry on, and to
facilitate the promotion, management, establishment, and carrying of such unlawful
activity.

All in violation of Title 18, United States Code, Section 1952(a)(3).

11
FORFEITURE ALLEGATION
[21 U.S.C. § 853, 18 U.S.C. § 981(a)(1)(C), and 28 U.S.C. § 2461]

The allegations contained in this Indictment are hereby realleged and
incorporated by reference for the purpose of alleging forfeitures pursuant to Title 21,
United States Code, Section 853, Title 18, United States Code, Section 981(a)(1)(C),
and Title 28, United States Code, Section 2461.

Upon conviction of the offenses alleged in this Indictment, as a part of their
sentences, the defendants, WILLIAM DONOVAN JOHNSON III, a/k/a “Billy
Johnson,” DAVID SCOTT CHAMBERS, a/k/a “Scott Chambers,” SHAUNI
BREANNE CALLAGY, and RENEE LYNN HAYNES, shall forfeit to the United
States any property constituting, or derived from, or traceable to, the proceeds
obtained, directly or indirectly, as a result of such drug and racketeering violations
and any property, real or personal, that was used or intended to be used to commit or
to facilitate the violation of federal drug law. The property to be forfeited includes,
but is not limited to:

MONEY JUDGMENT

1. A money judgment in an amount of at least $48,000, representing proceeds

obtained by the Defendant DAVID SCOTT CHAMBERS, a/k/a “Scott
Chambers,” as a result of the offenses;
CURRENCY

2. $4,630.00 in United States currency, seized from the 2012 white Chevy
Equinox on October 10, 2020;

3. $1,113.00 in United States currency, seized from a 2012 white Chevy Equinox
on October 10, 2020;
4, $800 in United States currency, seized from the 2012 white Chevy Equinox on
October 10, 2020;

5. $59,790.00 in United States currency, seized from the 2012 white Chevy
Equinox on October 10, 2020;

6. $646.00 in United States currency, seized from William Donovan Johnson,
III, a/k/a “Billy Johnson,” on October 12, 2020;

7. $38,806.00 in United States currency, seized from a trailer located in Cayuga
Park Resort on October 12, 2020;

8. $65,533 in United States currency, seized from a trailer located at South 650
Road on October 12, 2020;

9. $16,475 in United States currency, seized from Room 2214 of the
Downstream Casino Resort on June 1, 2019;

FIREARMS AND AMMUNITION

10.A Ruger .22 caliber revolver, serial number 20-96958;

11.A Jennings T380-CA .380 semi-automatic pistol, serial number 1466709;

12.A Taurus .40 caliber semi-automatic pistol, serial number STE 17971; and

13. Any and all ammunition.

Pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title
18, United States Code, Sections 982(b)(1) and 1028(g), and Title 28, United States
Code, Section 2461(c), the defendant shall forfeit substitute property, up to the value
of the property described above if, by any act or omission of the defendant, the
property described above, or any portion thereof, cannot be located upon the exercise
of due diligence; has been transferred or sold to, or deposited with, a third party; has

been placed beyond the jurisdiction of the court; has been substantially diminished in

13
value; or has been commingled with other property which cannot be divided without
difficulty.
All pursuant to Title 18, United States Code, Section 853, Title 18, United States

Code, Section 981(a)(1)(C), and Title 28, United States Code, Section 2461.

CLINTON J. JOHNSON A TRUE BILL
Acting United States Attorney

fL~ /s/ Grand Jury Foreperson

THOMAS E. DUNCOMBE Grand Jury Foreperson
Assistant United States Attorney

 

14
